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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

SETH LAMAR, individually and
on behalf of all others similarly situated                                             PLAINTIFFS

v.                                Case No. 4:16-cv-000135-KGB

LACY ONE, LLC and
TAMMARA LACY, Individually and
as an owner of Lacy One, LLC                                                         DEFENDANTS

                                              ORDER

          Plaintiff Seth Lamar brings this proposed collective action for unpaid overtime wages

against defendants Lacy One, LLC, and Tammara Lacy, individually and as an owner of Lacy

One, LLC (collectively, “Lacy One”). Before the Court is Mr. Lamar’s motion for conditional

certification, for approval and distribution of notice, and for disclosure of contact information (Dkt.

No. 7). Lacy One has filed a response to Mr. Lamar’s motion, and Mr. Lamar has replied to Lacy

One’s response (Dkt. Nos. 9; 12). For the following reasons, Mr. Lamar’s motion is granted (Dkt.

No. 7).

          I.       Background

          Mr. Lamar claims that, from approximately July through November, 2015, he delivered

goods and equipment for Lacy One, LLC, a private company that contracts with retailers to deliver

appliances to and from customer locations in Arkansas (Dkt. No. 1, ¶¶ 9-11). Mr. Lamar alleges

that Lacy One paid him and other deliverymen a day-rate without overtime premiums in violation

of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. He now seeks conditional

certification of the following class: “[a]ll deliverymen (or similar positions, which may also be

referred to as ‘drivers’ or ‘delivery workers’) who worked for Defendants Lacy One, LLC, and/or

Tammara Lacy (hereinafter ‘Defendants’) at any time after March 09, 2013” (Dkt. No. 7, ¶ 2).
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         II.    Analysis

                A.      Conditional Certification

         Under the FLSA:

         An action to recover the liability prescribed . . . may be maintained against any
         employer . . . in any Federal or State court of competent jurisdiction by any one or
         more employees for and in behalf of himself or themselves and other employees
         similarly situated. No employee shall be a party plaintiff to any such action unless
         he gives his consent in writing to become such a party and such consent is filed in
         the court in which such action is brought.

29 U.S.C. § 216(b).

         Many district courts in the Eighth Circuit utilize a two-step approach in collective action

cases.

         At the notice stage, the court determines, based on the pleadings and affidavits,
         whether notice should be given to potential class members. The key issue is
         whether the members of the proposed class are similarly situated. If the court
         allows notification, then a representative class is conditionally certified and notice
         is sent to the putative opt-in plaintiffs. At the second stage, the court determines
         whether to decertify the class once discovery is largely complete.

Smith v. Frac Tech Services, Ltd., 2009 WL 4251017 (E.D. Ark. 2009). This Court adopted this

approach in at least one other matter. See Watson v. Surf-Frac Wellhead Equip. Co., 2012 WL

5185869 (E.D. Ark. Oct. 18, 2012). Mr. Lamar and Lacy One agree that the Court should utilize

this two-step approach (Dkt. No. 8, at 3-4; Dkt. No. 10, at 1).

         Plaintiffs’ burden at the notice stage is lenient and is usually met by making a “modest

factual showing,” typically by the submission of affidavits, that plaintiffs and the putative class

were victims of a common decision, policy, or plan of the employer that affected all class members

in a similar fashion. Resendiz-Ramirez v. P & H Forestry, LLC, 515 F. Supp. 2d 937, 941 (W.D.

Ark. 2007) (citing Thiessen v. General Electric Capital Corp., 267 F.3d 1095, 1106-08 (10th Cir.


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2001)). The Court can consider a variety of non-exclusive factors in determining whether

employees are similarly situated. They include: (1) whether the plaintiffs hold the same job title;

(2) whether they worked in the same geographic location; (3) whether the alleged violations

occurred during the same time period; (4) whether the plaintiffs were subjected to the same policies

and practices, and whether these policies and practices were established in the same manner and

by the same decision maker; and (5) the extent to which the acts constituting the alleged violations

are similar. Stone v. First Union Corp., 203 F.R.D. 532, 542-43 (S.D. Fla. 2001) (citing Grayson

v. K Mart Corp., 79 F.3d 1086, 1090, 1097-99 (11th Cir. 1996)).

        To meet his burden, Mr. Lamar offers his own affidavit. Mr. Lamar states that he worked

as a deliveryman for Lacy One. According to Mr. Lamar, deliverymen for Lacy One load, deliver,

and install various products for Lacy One’s clients. Mr. Lamar claims that Lacy One paid all

deliverymen a fixed amount of compensation for each day worked, and that the “day rate was

subject to deductions at the discretion of Defendants for various reasons, including but not limited

to partial days worked and claims for damages by delivery recipients” (Dkt. No. 7-7, ¶ 6). He

claims that he and other deliverymen were regularly required to work in excess of 40 hours a week

and that Lacy One did not compensate deliveryman for any hours worked in excess of 40 hours a

week. Mr. Lamar estimates that there are 20 or more individuals who worked as deliverymen for

Lacy One since March 9, 2013, and that, “[b]ased on [his] experience and conversations with other

similarly situated deliverymen for Defendants, [he] believe[s] other deliverymen would be

interested in participating in this lawsuit” (Id., ¶ 15).

        Lacy One contends that conditional certification is inappropriate for two reasons. First,

Lacy One argues that Mr. Lamar failed to establish that there are other individuals who wish to

opt in to the proposed class (Dkt. No. 10, at 2-4). In response, Mr. Lamar argues that the Court



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should not require such evidence at this stage of litigation (Dkt. No. 12, at 2-3). Lacy One also

argues that Mr. Lamar fails to establish through admissible evidence that other deliverymen

allegedly suffered similar FLSA violations (Dkt. No. 10, at 4-5).

                         1.     Evidence Of Other Interested Class Members

          “Courts are split with respect to whether and how plaintiffs must demonstrate that those

similarly-situated, putative class members are interested in joining the suit.” O’Donnell v. Robert

Half Int’l, Inc., 534 F. Supp. 2d 173, 179 (D. Mass. 2008); see, e.g., Amendola v. Bristol-Myers

Squibb Co., 558 F. Supp. 2d 459 (S.D.N.Y. 2008) (not requiring showing); Songer v. Dillon Res.,

Inc., 569 F. Supp. 2d 703 (N.D. Tex. 2008) (requiring showing). Courts in the Eighth Circuit are

no exception. See, e.g., Musticchi v. Little Rock, No. 4:08-cv-00419 SWW (E.D. Ark. Feb. 2,

2009) (requiring showing); Robinson v. Tyson Foods, Inc., 254 F.R.D. 97 (S.D. Iowa 2008)

(requiring showing); Kautsch v. Premier Communications, 504 F. Supp. 2d 685 (W.D. Mo. 2007)

(not requiring showing). This Court has not previously determined whether a plaintiff must

produce evidence that others wish to join the class at the notice stage.

          The Court finds that, in this case, Mr. Lamar does not have the burden of offering evidence

that other employees are interested in joining his proposed class as a prerequisite for conditional

certification. As another district court within the Eighth Circuit stated, “[r]equiring a plaintiff to

make an advance showing that others want to join would undermine the ‘broad remedial goal’ of

the FLSA.” Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2009 WL 5066759, at *5 (E.D.

Ark. Dec. 15, 2009) (quoting Heckler v. DK Funding, LLC, 502 F. Supp. 2d 777, 780 (N.D. Ill.

2007)).     The Court recognizes that, in certain circumstances, policy considerations could

conceivably support requiring a plaintiff to demonstrate that other employees are interested in

joining a class at the notice stage. For example, “[w]ithout such a requirement, the parties and the



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Court could waste valuable resources issuing notice to potential plaintiffs only to find that the case

cannot proceed as a collective action.” Collins v. Barney's Barn, Inc., No. 4:12CV00685 SWW,

2013 WL 1668984, at *3 (E.D. Ark. Apr. 17, 2013). However, such policy considerations do not

support such a requirement in this case, where there appears to be no dispute that the proposed

class is small and the members are easily identifiable. 1 Therefore, while the Court does not

foreclose the possibility that, in certain circumstances, a plaintiff seeking to certify a FLSA class

action should be required to show that others are interested in joining the class as a prerequisite to

conditional certification, the Court finds that no such requirement is necessary in this case.

                       2.      Similarly Situated

       Lacy One also argues that Mr. Lamar fails to meet his modest burden of showing that he

and the potential class members were victims of a common policy that affected all class members

in a similar fashion (Dkt. No. 10, at 4-5). In his affidavit, Mr. Lamar states that he and other

deliverymen for Lacy One were regularly required to work in excess of 40 hours a week and that

Lacy One did not compensate its deliverymen for any hours worked in excess of 40 hours a week.

Lacy One argues that Mr. Lamar fails to meet his burden of proof because he merely “presents a

self-serving statement about what other people did, without any basis in fact” (Id., at 4). In

response, Mr. Lamar contends that Ms. Lacy’s declaration, which was attached to Lacy One’s

response to the motion for conditional certification, “confirms all facts necessary to establish that

a class of similarly situated employees exists” (Dkt. No. 12, at 1).




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           Mr. Lamar estimates that there are approximately 20 potential class members (Dkt. No.
8, at 9). In their response to Mr. Lamar’s motion for conditional certification, Lacy One states that
they possess the contact information for current and former employees, meaning the potential class
members are easily identifiable and the cost of issuing notice is relatively low.
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       “‘To establish that conditional certification is appropriate, the plaintiff[ ] must provide

some factual basis from which the court can determine if similarly situated potential plaintiffs

exist.’” Tegtmeier v. PJ Iowa, L.C., No. 3:15-CV-00110-JEG, 2016 WL 5340186, at *4 (S.D.

Iowa Sept. 21, 2016) (alteration in original) (quoting Robinson v. Tyson Foods, Inc., 254 F.R.D.

97, 99 (S.D. Iowa 2008). Mr. Lamar’s factual burden at this stage is not onerous. Littlefield v.

Dealer Warranty Servs., LLC, 679 F. Supp. 2d 1014, 1017 (E.D. Mo. 2010). However, while this

is a “lenient standard, . . . ‘more than mere allegations’ are required.” Tegtmeier, 2016 WL

5340186, at *4 (quoting Robinson, 254 F.R.D. at 99). “Typically, district courts will make the

determination of whether to conditionally certify a class based solely on the affidavits presented

by the plaintiffs.” Huang v. Gateway Hotel Holdings, 248 F.R.D. 225, 227 (E.D. Mo. 2008).

       In his declaration, Mr. Lamar states that all deliverymen for Lacy One are paid a daily rate

and are not paid overtime (Dkt. No. 7-7, at 2). Ms. Lacy confirms these assertions in her

declaration (Dkt. No. 10-2, ¶ 8). After reviewing Mr. Lamar and Ms. Lacy’s declarations, the

Court finds that Mr. Lamar has met his modest burden of demonstrating that he and potential class

members were the victims of the same policy.

       The Court finds that Mr. Lamar has carried his lenient burden of establishing that he is

similarly situated to other deliverymen who worked for Lacy One. He has submitted some

evidence of a common decision, policy, or plan designed to deny deliverymen overtime

compensation for hours worked in excess of 40 hours a week.             Therefore, the Court will

conditionally certify this action for purposes of giving notice.

               B.      Notice

       Mr. Lamar submitted the following as attachments to his motion for conditional

certification: (1) a proposed collective action class mail notice; (2) a proposed mail consent form;



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(3) a proposed notice email notice; (4) a proposed electronic consent form; and (5) a proposed

follow-up postcard (Dkt. Nos. 7-1; 7-2; 7-3; 7-4; 7-5). Lacy One does not object to the form of

these notices. The Court has reviewed the proposed notices submitted by Mr. Lamar and approves

each as to form and content.

        To facilitate notice, Lacy One is ordered to provide Mr. Lamar’s counsel with the names

and last known home, work, and email addresses of each potential class member within 14 days

of the date of this Order. Lacy One is permitted to produce this information in the format in which

it is ordinarily kept. Mr. Lamar shall then have 60 days to distribute notice and file opt-in consent

forms with the Court. Mr. Lamar is permitted to send the approved follow-up postcard to potential

class members who do not respond after 30 days of sending the notice. Mr. Lamar is permitted to

send the approved electronic versions of the notice and consent by email in addition to postal mail.

       III.    Conclusion

       For the foregoing reasons, Mr. Lamar’s motion for conditional certification, for approval

and distribution of notice, and for disclosure of contact information is granted (Dkt. No. 7). The

Court conditionally certifies this case as a collective action and authorizes notice to all deliverymen

(or similar positions, which may also be referred to as “drivers” or “delivery workers”) who

worked for Lacy One, LLC and/or Tammara Lacy at any time after March 9, 2013.

       So ordered this the 30th day of August, 2017.



                                               _________________________________
                                               Kristine G. Baker
                                               United States District Court Judge




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